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                IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )          CR. NO. 2:94cr62-MHT
                                              )
OSCAR ANDREWS                                 )

                                         ORDER

       On February 22, 2010, the magistrate judge filed a recommendation in this case to

which no timely objections have been filed. Upon an independent and de novo review of the

file in this case and upon consideration of the recommendation of the magistrate judge, it is

ORDERED that the recommendation (doc. # 2015) is adopted and defendant Oscar

Andrew’s motion to adopt (doc. # 2013) is denied.

       DONE, this the 25th day of March, 2010.


                                       /s/ Myron H. Thompson
                                   UNITED STATES DISTRICT JUDGE
